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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 DR. JENNY H. CONVISER and                     )
 ASCEND CONSULTATION IN                        )
 HEALTH CARE, LLC,                             )
                                               )
                        Plaintiffs,            )    Case No.: 20-cv-03094
                                               )
 v.                                            )    Honorable Franklin U. Valderrama
                                               )
 DEPAUL UNIVERSITY,                            )
                                               )
                        Defendant.             )

                 MOTION TO WITHDRAW ATTORNEY APPEARANCE

        Christina Egan, counsel for DePaul University (“DePaul”), and attorney at McGuireWoods

LLP, moves as follows pursuant to Local Rule 83.17 of the Northern District of Illinois.

        1.     DePaul is currently represented by Christina M. Egan, Amy Starinieri Gilbert,

Heidi E. Siegmund, and Melissa M. Weiss of McGuireWoods LLP.

        2.     R. Craig Wood retired from McGuireWoods LLP and the practice of law on

December 31, 2021.

        3.     Christina M. Egan, Amy Starinieri Gilbert, Heidi E. Siegmund, and Melissa M.

Weiss of McGuireWoods LLP will continue to represent DePaul in this action.

        WHEREFORE, the undersigned counsel respectfully moves this Honorable court for an

Order permitting R. Craig Wood to withdraw his appearance as counsel for DePaul and that the

minute order direct the District Court Clerk to delete him from the service list.

Date: January 5, 2021                                 Respectfully submitted,

                                              By:     /s/ Christina Egan

                                                      Christina M. Egan
                                                      Amy Starinieri Gilbert
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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on January 5, 2021, I electronically filed the foregoing Motion

to Withdraw Attorney Appearance with the Clerk of the Court by using the CM/ECF system which

will serve a copy upon all counsel of record.



                                                        /s/ Christina Egan
                                                        One of Defendant’s Attorneys




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